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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

ELIYAHU MIRLIS,                       :
                                      :
     plaintiff,                       :
                                      :
v.                                    :   CASE NO. 3:18cv02082 (MPS)
                                      :
SARAH GREER,                          :
                                      :
     defendant.                       :


     RULING ON PLAINTIFF’S APPLICATION FOR PREJUDGMENT REMEDY AND
                         MOTION FOR DISCLOSURE

       The plaintiff, Eliyahu Mirlis, filed this action against

the defendant, Sarah Greer, to recover funds that were allegedly

fraudulently transferred to the defendant. Prior to this action,

the plaintiff obtained a judgment against the defendant’s

husband, Daniel Greer, in Eliyahu Mirlis v. Daniel Greer, 3:16-

cv-00678 (MPS)(“The Underlying Action”).          The plaintiff alleges

that certain funds were fraudulently conveyed to prevent the

plaintiff from collecting the judgment and has filed a motion

for a prejudgment remedy and a motion for disclosure of

defendant’s property.

       After considering the briefs and materials submitted by the

parties,1 plaintiff’s motion for a prejudgment remedy is GRANTED,




1 A hearing was held on July 11, 2019, but no witnesses were
called and both parties agreed that the court could determine
the matter solely on the papers.
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in part, and plaintiff’s motion for disclosure of property is

GRANTED.

                               STANDARD

    Rule 64(a) of the Federal Rules of Civil Procedure provides

that in a federal action “every remedy is available that, under

the law of the state where the court is located, provides for

seizing a person or property to secure satisfaction of the

potential judgment.” Fed. R Civ. P. 64(a); see also Novafund

Advisors, LLC v. Capitala Group, LLC, No. 3:18CV1023(MPS), 2019

WL 1438179, at *1 (D. Conn. Mar. 31, 2019). Thus, this Court

must apply Connecticut’s prejudgment remedy statute, Conn. Gen.

Stat. § 52-278a, et seq. Under that statute, a prejudgment

remedy is available if the court finds “there is probable cause

that a judgment in the amount of the prejudgment remedy sought,

or in an amount greater than the amount of the prejudgment

remedy sought, taking into account any defenses, counterclaims

or set-offs, will be rendered in favor of the plaintiff. . . .”

Conn. Gen. Stat. § 52-278d(a)(1).

    At this stage, the “trial court’s function is to determine

whether there is probable cause to believe that a judgment will

be rendered in favor of the plaintiff in a trial on the merits.”

Roberts v. Triplanet Partners, LLC, 950 F. Supp. 2d. 418, 421

(D. Conn. 2013) (quoting Balzer v. Millward, No. 3:10CV1740(SRU)

(HBF), 2011 WL 1547211, at *1 (D. Conn. Apr. 21, 2011) (internal
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quotation marks omitted). The probable cause standard is modest,

and “not as demanding as proof by a fair preponderance of the

evidence.” TES Franchising LLC. v. Feldman, 286 Conn. 132, 137

(2008). “The legal idea of probable cause is a bona fide belief

in the existence of facts essential under the law for the action

and such as would warrant a man of ordinary caution, prudence,

and judgment, under the circumstances, in entertaining it.” Id.

“When a plaintiff is seeking a prejudgment remedy based on a

fraudulent transfer, the plaintiff must establish probable cause

to believe that it can prove by clear and convincing evidence

that the transfer was fraudulent.” Cendant Corporation v.

Shelton, 473 F. Supp. 2d 307, 312 (D. Conn. 2007) (citation and

internal quotation marks omitted).

    A probable cause determination requires the court to

determine “the validity of the plaintiff’s claim and the amount

of the remedy sought.” TES Franchising, LLC, 286 Conn. at 145-

466 (2008); Conn. Gen. Stat. § 52-278(d)(a). In determining the

amount of the remedy, “[d]amages need not be established with

mathematical precision, but must be based on evidence yielding a

fair and reasonable estimate.” Triplanet Partners, 950 F. Supp.

2d at 421 (citation and internal quotation marks omitted).

    For a motion to disclose property, “the court may, on

motion of a party, order an appearing defendant to disclose

property in which he has an interest or debts owing to him
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sufficient to satisfy a prejudgment remedy.” Conn. Gen. Stat. §

52-278(n)(a) (2019). “Generally, under Connecticut law, a

disclosure of assets is ordered if a prejudgment remedy is

ordered. Novafund Advisors, LLC, No. 3:18CV1023(MPS), at *2

(quoting Wachovia Bank, N.A. v. Cummings, No. 309CV957(SRU),

2010 WL 466160, at *9 (D. Conn. Feb. 8, 2010)).

                              DISCUSSION

     In connection with this matter, the parties submitted a

joint stipulation of facts which the Court adopts. The Court

will supplement with additional facts as needed.

     Plaintiff alleges that three different types of fraudulent

transfers were made by the defendant to help her husband avoid

paying the judgment. First, that defendant transferred $238,000

by way of three different checks2 from the defendant’s joint

accounts with her husband to an account outside of Connecticut

that was solely in the defendant’s name. Second, that the

defendant and her husband purposefully used her husband’s money

to pay for expenses and reduce the number of assets in her

husband’s name. Third, that the defendant and her husband are

officers and directors of intertwined non-profit organizations,


2 The jury returned its verdict against defendant’s husband on
May 18, 2017. The first check was drafted shortly before the
verdict, on May 12, 2017, for $5,000.00. The second check was
drafted on June 16, 2017 in the amount of $13,000.00. The final
check, a bank check from June 5, 2017, was made payable to the
defendant in the amount of $220,000.00.
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from which the defendant receives large retirement benefits but

her husband does not, such that the majority of the assets are

in the defendant’s name and not accessible by the plaintiff.

  I.        The Fraudulent Transfer Claim

       Under the Connecticut Uniform Fraudulent Transfer Act

(“CUFTA”), a transfer made by a debtor is fraudulent as to a

creditor if the creditor’s claim arose before the transfer was

made and the transfer was made with “actual intent to hinder,

delay or defraud any creditor of the debtor.” Conn. Gen. Stat. §

52-552e(a)(1). A creditor is anyone with a claim, including a

judgment. Conn. Gen. Stat. § 52-552b(3-4). In this instance, the

plaintiff obtained a verdict against the defendant’s husband and

is, therefore, creditor. A debtor is an individual liable for a

claim. Id. at § 52-552b(5). Plaintiff’s verdict was against

Daniel Greer and, therefore, Mr. Greer is a debtor under CUFTA.

       Under CUFTA, a transfer includes “every mode, direct or

indirect, absolute or conditional, voluntary or involuntary, of

disposing of or parting with an asset. . . .” Id. at § 52-

552b(12). A transfer is:

       fraudulent as to a creditor if the creditor’s claim arose
       before the transfer was made or the obligation was
       incurred and if the debtor made the transfer or incurred
       the obligation: (1) with actual intent to hinder, delay
       or defraud any creditor of the debtor; or (2) without
       receiving a reasonably equivalent value in exchange for
       the transfer or obligation, and the debtor (A) was
       engaged or was about to engage in a business or a
       transaction for which the remaining assets of the debtor
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    were unreasonably small in relation to the business or
    transaction, or (B) intended to incur, or believed or
    reasonably should have believed that he would incur,
    debts beyond his ability to pay as they became due.

Id. § 52-552e(a). When determining if fraudulent intent has been

proven, a court can consider: (1) if the transfer was to an

insider; (2) if the debtor retained control of the property

after transfer; (3) if the transfer was concealed; (4) if the

debtor had been sued or threatened with a suit before the

transfer; (5) if the transfer was substantially all of the

debtor’s assets; (6) if the debtor fled; (7) if the debtor hid

assets; (8) if the debtor received consideration equal to the

amount transferred; (9) if the debtor was insolvent or became

insolvent as a result of the transfer; (10) if the transfer

occurred shortly before the debt was incurred; and (11) if the

debtor transferred essential business assets to a lienor who in

turn transferred the assets to an insider of the debtor. Id. at

§52-552(e)(b).

    In order to prevail on his fraudulent transfer claim, the

plaintiff must prove that (1) there was a transfer of an asset,

(2) the creditor had a claim which arose before the transfer was

made, and (3) the transfer was made with intent to hinder delay

or defraud the plaintiff as creditor.

    Plaintiff argues that the defendant fraudulently

transferred money from joint accounts that she held with her
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husband (the debtor) after judgment was entered against her

husband in order to prevent the plaintiff from collecting the

judgment. (Dkt. #37). Based on the evidence, the Court finds

that there is probable cause that the plaintiff can prove that

an asset was transferred and that plaintiff’s claim arose before

the transfer was made.

    First, the checks are transfers under the CUFTA as a mode

transferring the debtor’s assets. See Cadle Co. v. Jones,

3:00CV316 (WWE), 2004 WL 2049321 (D. Conn. Aug. 20, 2004).

    Second, the plaintiff, a creditor, clearly had a claim

which arose before the transfers were made. Under the Fraudulent

Transfer Act, a “claim [arises] on the date of the injury in the

underlying action.” Canty v. Otto, 304 Conn. 546, 561

(2012)(alteration in original)(internal quotation and citation

omitted.) At the time of the check transfers, there was a

pending lawsuit against the defendant’s husband. The lawsuit

commenced in May of 2016, such that the defendant and her

husband had actual notice that a claim had been made and that a

judgment could have been rendered against the husband in the

future, a fact which the defendant acknowledges in her brief.

(Dkt. #34-1.). As noted earlier, the first of the three checks

was drafted a week before the jury returned its verdict and the

remaining two checks were drafted within a month after the
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verdict.3 This evidence establishes that plaintiff’s claim arose

before the three transfers were made. See Canty, 304 Conn. at

561 (in a wrongful death case, the Court found that the claim

arose on the date that the victim was murdered).

     Third, the Court finds probable cause that the plaintiff

can prove by clear and convincing evidence that the three

transfers were made with fraudulent intent.       Relying upon the

factors enumerated in Conn. Gen. Stat § 52-552(e)(b), the

plaintiff argues that he can prove fraudulent intent. More

specifically, plaintiff alleges that the defendant’s husband

retained possession and control of the transferred funds because

the funds were used to pay joint obligations of the defendant

and her husband.   The plaintiff also asserts that the transfers,

which were concealed from the plaintiff, occurred immediately

before and immediately after the verdict and judgment. Plaintiff

further asserts that there was no consideration between the

defendant and her husband regarding the transfers. Finally, the

plaintiff notes that the defendant’s husband was about to become

insolvent at the time of the transfer, as a result of the




3
 Although the defendant testified that she could not recall if
she knew about the verdict when she issued the checks in May and
June of 2017, she testified that she was in court on the day the
verdict was rendered so she was familiar with the numbers.
(Pl.’s Ex. 3. 90:6-91:13.).
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judgment. The Court agrees with the plaintiff’s application of

the factors set forth in Conn. Gen. Stat § 52-552(e)(b).

    Here, the defendant is the wife of the debtor and clearly

an insider.   There is probable cause that the debtor retained

control of the funds as they were used to pay down joint

expenses. (Pl.’s Ex. 22.) The Court also finds that the

transfers were concealed from the plaintiff. There is evidence

that after her deposition, the defendant nearly depleted a bank

account that she had not used for a year. (Id.; Pl.’s Ex. 23.)

    Further, the check transfers occurred around the time of

the jury verdict and judgment. Ten days after the judgment, the

transfers were deposited into an out of state account solely

bearing the defendant’s name. Not only did the check transfers

occur at this time, but defendant removed herself as a signatory

on an account that she had held jointly with her husband for

years.

    The debtor (defendant’s husband) did not receive any

consideration for the money that was transferred. Instead, the

defendant testified that she had wanted “[t]o take the money

from our joint account that belongs to me and take it out.”

(Pl.’s Ex. 3 81:2-3). In this respect, the defendant claims that

the money in the joint account belonged to her.        However, the

financial activity between August 2013 and July 2017 seems to

contradict defendant’s assertion.     Almost all of the money
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deposited (and, in fact, withdrawn) from the joint account with

Liberty Bank was in the debtor-husband’s name. (Pl.’s Ex. 8). Of

the eleven withdrawals or transfers made from the joint bank

account between August 2013 and July 2017, ten were made

directly to defendant’s husband. (Id.) The remaining withdrawal

was for $220,000 to the defendant. (Id.) Similarly, every single

check that was deposited into the Liberty account was payable

solely to the defendant’s husband. (Id.) Based on this evidence,

a fact finder could reasonably conclude that, contrary to

defendant’s testimony, the money in the account did not belong

to the defendant, such that consideration was owed to the

debtor-husband.   The defendant has offered no evidence of any

such consideration.

    The defendant argues that, as a joint owner of the account,

she has a right to remove funds to another account and “she had

the right to withdraw the funds.” (Dkt. # 34-1.) However,

defendant’s right to withdraw the money at issue does not compel

a finding that the transfers were not fraudulent. Being a joint

owner does not change the probable cause analysis; all of the

elements for proving fraudulent transfer are still met,

regardless of whether or not the defendant’s name was on the

account. This fact is illustrated by the court’s ruling in Cadle

Co. v. Jones, 3:00CV316 (WWE), 2004 WL 2049321 (D. Conn. Aug.

20, 2004.). In Cadle, the spouse of a debtor-husband transferred
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her husband’s paychecks from their joint bank account to an

account solely in her name. The court found clear and convincing

evidence that the transfers were fraudulent. Although the spouse

had a legal right to access the joint account, she did not have

the right to hinder delay or defraud creditors.

    II.    Statute of Limitations

      The defendant argues that the plaintiff’s claim is barred

by the applicable statute of limitations. The defendant argues

that the statute of limitations for a fraudulent transfer is

three years. In support of her argument, the defendant relies on

the Connecticut Supreme Court’s ruling in Travelers Indem. Co.

v. Rubin, 209 Conn. 437 (1998) and the Connecticut Appellate

Court’s ruling in Valentine v. LaBow, 95 Conn. App. 436 (2006).

The defendant argues that the three year statute of limitations

began to run on the date that plaintiff’s claim arose. Since the

plaintiff filed his lawsuit against the defendant on December

18, 2018, the defendant argues that the plaintiff can only

recover for claims arising within three years after December 18,

2018.     The Court disagrees with the defendant’s arguments.

      First, Travelers and Valentine both involved fraudulent

transfer claims arising under the common law.4 In contrast, the


4 In Travelers, the court stated that “[o]rdinarily, the
fraudulent conveyance statute, General Statutes §52-552, would
be the basis for ran action to set aside a fraudulent conveyance
of real property.” Travelers, 209 Conn. At 440. However, the
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instant claim arises under the CUFTA. Conn. Gen. Stat § 52-552j

provides that the applicable statute of limitations for a CUFTA

claim is “within four years after the transfer was made or the

obligation was incurred…” (Emphasis added).           All three of the

checks were issued within four years of December 18, 2018. Thus,

the Court finds that the fraudulent transfer claims were timely

made.

     For the reasons listed above, the Court finds that there is

probable cause that the plaintiff can prove by clear and

convincing evidence that the check transfers were fraudulent

under the CUFTA.5 The Court also finds that there is probable

cause that a judgment will be rendered in plaintiff’s favor in

the amount of $238,000 at trial. Since the Court finds that

there is probable cause that plaintiff can prove with clear and




plaintiff conceded that the action was a common law action and
therefore did not implicate § 52-552 (the CUFTA). Id.
Additionally, in Valentine, the court relied upon Travelers to
conclude that “our Supreme Court has stated that the three year
limitation period contained in §52-577 applies to common-law
fraudulent conveyance actions.” Valentine, 95 Conn. App. At 445.
5
 Plaintiff advances several theories regarding the check
transfers, but the Court only needs to accept one theory to
conclude that the plaintiff has met his burden of proof. Since
the Court has determined that the plaintiff has established
probable cause that he can prove by clear and convincing
evidence that the check transfers were fraudulent and since the
three checks total $238,000, the amount of the remedy sought,
the Court will make no determination and will express no opinion
on the merits of plaintiff’s other theories or claims.
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convincing evidence that the transfers were fraudulent, the

Court also holds that there is probable cause plaintiff will

receive the value of those checks, which is $238,000.

    For the reasons articulated above, Plaintiff has

established probable cause to support a prejudgment remedy in

the amount of $238,000.

  III. Plaintiff’s Motion for Disclosure of Property

    Because the Court has found probable cause for a

prejudgment remedy, it is also appropriate to grant the motion

for disclosure of assets. To this end, the Court adopts Exhibit

A, a draft order prepared by the plaintiff’s outlining the form

and terms of disclosure.

                              CONCLUSION

    For the foregoing reasons, Plaintiff’s motion for

prejudgment remedy (Dkt. #22) is GRANTED in the amount of

$238,000.00 and the amended motion to disclose property (Dkt.

#25) is GRANTED.

    This is not a recommended ruling. It is and has been the

rule in this district that an application for a prejudgment

remedy is considered non-dispositive. See Lafarge Building

Materials, Inc. v. A. Aiudi & Sons, LLC, No. 3:15CV1203(JBA),

2015 WL 6551796, at *8 n.19 (D. Conn. Oct. 29, 2015) (listing

cases). Therefore, this ruling is reviewable pursuant to the

“clearly erroneous” statutory standard of review. 28 U.S.C. §
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636(b)(1)(A); Fed. R. Civ. P. 72(a); and D. Conn. L. R. 72.2. As

such, it is an order of the Court unless reversed or modified by

a district judge upon motion timely made. See 28 U.S.C. §

636(c)(3).

    SO ORDERED this 30th day of July 2019, at Hartford,

Connecticut.

                                 __        /s/   __ ___ ____
                                 Robert A. Richardson
                                 United States Magistrate Judge
